Case 2:19-cv-07818-CBM-RAO Document 41 Filed 08/03/20 Page 1 of 6 Page ID #:183



   1    Katherine M. Dugdale, Bar No. 168014
        KDugdale@perkinscoie.com
   2    PERKINS COIE LLP
        1888 Century Park E., Suite 1700
   3    Los Angeles, CA 90067-1721
        Telephone: 310.788.9900
   4    Facsimile: 310.788.3399
   5    William C. Rava (appearing pro hac vice)
        Christian W. Marcelo (appearing pro hac vice)
   6    WRava@perkinscoie.com
        CMarcelo@perkinscoie.com
   7    PERKINS COIE LLP
        1201 Third Avenue, Suite 4900
   8    Seattle, WA 98101
        Telephone: 206.359.8000
   9    Facsimile: 206.359.9000
  10    Attorneys for Plaintiff
        Nintendo of America Inc.
  11
                             UNITED STATES DISTRICT COURT
  12
                           CENTRAL DISTRICT OF CALIFORNIA
  13
  14
        NINTENDO OF AMERICA INC., a             Case No. 2:19-CV-07818-CBM-RAO
  15    Washington corporation
                                                 STIPULATION TO EXTEND CASE
  16                       Plaintiff,            MANAGEMENT DEADLINES AND
                                                 CONTINUE TRIAL DATE
  17          v.
  18    MATTHEW STORMAN, an                      The Honorable Consuelo B. Marshall
        individual, JOHN DOES 1-10,
  19    individuals and/or corporations,
  20                       Defendant.
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   1         Plaintiff Nintendo of America Inc. (“Nintendo”), by and through its counsel,
   2   and Defendant Matthew Storman, pro se, and for good cause, jointly stipulate and
   3   request that the Court enter an order extending the discovery cut-off and related
   4   case management dates, including the January 19, 2021 trial date.
   5         Per the Court’s Order, entered April 27, the following dates were set:
   6                a. The discovery cut-off in this case is August 28, 2020;
   7                b. Opening expert witness disclosures were due July 24, 2020, and
   8                   rebuttal expert witness disclosures are due August 14, 2020;
   9                c. The expert discovery cutoff is September 11, 2020;
  10                d. The parties are to complete the settlement conference on or before
  11                   September 1, 2020;
  12                e. Motions shall be set for oral argument on or before October 27,
  13                   2020 at 10:00am;
  14                f. Pre-Trial Conference is set on January 5, 2021 at 2:30pm; and
  15                g. The trial in this case is scheduled to begin on January 19, 2021 (est.
  16                   4-5 days).
  17   (Dkt. 38.)
  18         The discovery undertaken by the parties is described in detail below,
  19   however, the overriding and extenuating factor for this request is Mr. Storman’s
  20   recent diagnosis of and hospitalization for COVID-19, which has already caused
  21   him to be largely unavailable for more than a month and will continue to cause
  22   delays for several additional weeks.
  23         Recognizing that Mr. Storman is appearing pro se and the recent
  24   complications caused by COVID-19, Nintendo has made every effort to
  25   accommodate his requests for extensions while still trying to move this case
  26   forward on the existing case schedule. For instance, Nintendo agreed to time
  27   extensions for Mr. Storman to file his Answer, provide his initial disclosures, and
  28   respond to Nintendo’s discovery requests.
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Case 2:19-cv-07818-CBM-RAO Document 41 Filed 08/03/20 Page 3 of 6 Page ID #:185



   1         On September 10, 2019, Nintendo filed the Complaint; it was served on
   2   Mr. Storman on September 17. On October 2, 2019, the parties stipulated to a 30-
   3   day extension for Mr. Storman to respond to the Complaint. Dkt. No. 21.
   4   Mr. Storman then filed a Motion to Dismiss, which this Court denied. Dkt. No. 30.
   5   The parties then stipulated to another extension of time for Mr. Storman to file his
   6   Answer. Dkt. No. 31.
   7         In connection with the Court’s February 25 Order Setting Scheduling
   8   Conference, on February 26, Nintendo contacted Mr. Storman to schedule a Rule
   9   26 conference. Mr. Storman responded a week later to schedule the call for
  10   March 3. Thirty minutes before the call, Mr. Storman asked to reschedule to the
  11   next day. The next morning, Mr. Storman once again asked to reschedule until the
  12   next week; the conference call was rescheduled for March 9. Mr. Storman did not
  13   join the call on March 9 and was unresponsive for the next three weeks. On
  14   March 31, Mr. Storman e-mailed to reschedule the call and indicated he had been
  15   extremely sick. The parties finally held their Rule 26 conference on April 6.
  16         On April 20, 2020, Nintendo provided Mr. Storman with its Initial
  17   Disclosures. On April 28, 2020, Nintendo served interrogatories and document
  18   production requests on Mr. Storman. And on May 18, 2020, Nintendo served
  19   Requests for Admissions on Mr. Storman.
  20         After missing the Court-set deadline to complete initial disclosures (May 5,
  21   2020), Mr. Storman requested additional time and represented he would complete
  22   the initial disclosures by May 12. On May 15, Mr. Storman represented that he
  23   would be unable to meet this new deadline and agreed to participate in a discovery
  24   conference; however, he claimed to be unavailable for that discovery conference for
  25   another two weeks.
  26         Mr. Storman agreed to participate in a call on May 27. On the call, Mr.
  27   Storman represented he would provide his initial disclosures and discovery
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Case 2:19-cv-07818-CBM-RAO Document 41 Filed 08/03/20 Page 4 of 6 Page ID #:186



   1   responses by May 29. Nearly immediately thereafter, Mr. Storman requested an
   2   extension to June 5; Nintendo once again agreed.
   3         The day before this thrice-extended deadline, June 4, Mr. Storman requested
   4   another 25-day extension “due to the Riots and Looting [sic] that are affecting Los
   5   Angeles and surrounding areas[.]” On June 9, Mr. Storman asserted he had second
   6   degree burns that prevented him from completing his initial disclosures and
   7   discovery responses. On June 15, Mr. Storman provided his initial disclosures and
   8   discovery responses.
   9         On June 23, 2020, Nintendo reached out to discuss several discovery disputes
  10   and deposition and settlement conference schedules, and seek Mr. Storman’s
  11   agreement to participate in the Informal Discovery Conference, if necessary. Two
  12   weeks later, on July 6, he stated that he was sick in the hospital and could not join a
  13   call. After another week, Nintendo followed up to see if Mr. Storman was feeling
  14   better and available for a call; he did not respond. On July 16, Nintendo once again
  15   followed up with Mr. Storman, requesting that he let Nintendo know if he was still
  16   hospitalized and to otherwise contact Nintendo regarding these issues. Having
  17   heard nothing from Mr. Storman for several weeks, Nintendo served a Notice of
  18   Deposition for Mr. Storman’s deposition on July 23. This finally prompted a
  19   response. Unfortunately, Mr. Storman informed Nintendo that he was diagnosed
  20   with COVID-19 in connection with his July 6 hospitalization.
  21         In light of this diagnosis, the parties have requested this continuance.
  22         For the above-stated reasons, and good cause therefore, the parties agree that
  23   they reasonably need an additional 90 days to complete fact discovery and a
  24   corresponding 90-day extension of the other deadlines in this case. The parties
  25   have also agreed to specific commitments to ensure the efficiency of the
  26   proceedings going forward. These include that the parties will participate in Judge
  27   Oliver’s Informal Discovery Conference procedure, including a preceding
  28   substantive meet-and-confer, if necessary, by no later than September 25, 2020,
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Case 2:19-cv-07818-CBM-RAO Document 41 Filed 08/03/20 Page 5 of 6 Page ID #:187



   1   and that Mr. Storman will make himself available for a deposition on or before
   2   October 9, 2020. Additionally, as neither party provided an expert report by the
   3   deadline, the parties have agreed to remove the remaining expert-related deadlines
   4   as moot.
   5         The parties, jointly and by stipulation, request that the Court establish the
   6   following new deadlines:
   7         Discovery Cut-Off:                         November 30, 2020
   8         Settlement Conference:                     On or before December 1, 2020
   9         Motion set for oral argument:              On or before January 26, 2020
  10         Pre-Trial Conference:                      March 9, 2021 at 2:30 p.m.
  11         Jury Trial:                                March 23, 2021 (est. 4-5 days)
  12
  13         IT IS SO STIPULATED.
  14
  15    DATED: August 3, 2020            PERKINS COIE LLP
  16
                                         By: /s/ William C. Rava
  17                                        Katherine M. Dugdale
                                            William C. Rava (appearing pro hac vice)
  18                                        Christian W. Marcelo (appearing pro hac vice)
  19
                                         Attorneys for Plaintiff
  20                                     NINTENDO OF AMERICA INC.
  21
  22
        DATED: August 3, 2020            MATTHEW STORMAN
  23
  24                                     By: /s/ Matthew Storman
  25                                        Matthew Storman

  26                                     Pro Se Defendant

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   1         Pursuant to Civil L.R. 5-4.3.4(a)(2)(i), the filer attests that all other
   2   signatories listed above, and on whose behalf this filing is submitted, concur in the
   3   filing’s content and have authorized the filing.
   4
   5    DATED: August 3, 2020                PERKINS COIE LLP
   6
                                             By: /s/ William C. Rava
   7                                            Katherine M. Dugdale
                                                William C. Rava (appearing pro hac vice)
   8                                            Christian W. Marcelo (appearing pro hac
                                                vice)
   9
  10                                         Attorneys for Plaintiff
                                             NINTENDO OF AMERICA INC.
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